                                                                                                                  lb
                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:
JETHRO SHELDON THURSTON                                               CASE NO. 20-00625-MH3-13
JENNIFER LEIGH THURSTON                                               HEARING DATE: April 15, 2020
                                                                      JUDGE MARIAN F HARRISON
                                                                      03/18/2020

             TRUSTEE'S MOTION TO DISMISS OR CONVERT FOR CAUSE FOR FAILURE TO
                  CONFIRM A PROPOSED PLAN PURSUANT TO 11 U.S.C. § 1307(c)(5)

    Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of Tennessee, hereby moves
the Court to dismiss or convert the above-styled case, whichever is in the best interest of creditors and the estate, for
cause, pursuant to 11 U.S.C. § 1307(c)(5) for denial of confirmation of a plan under § 1325 and denial of a request
made for additional time for filing another plan or modification of a plan.

    In support of this motion, the Trustee would state that the Trustee has requested a hearing on confirmation of the
debtors' proposed Chapter 13 plan based upon an objection to confirmation of the debtors' proposed plan. In the event
the objection to confirmation is sustained, the debtors' proposed plan is not confirmed and request by the debtors, if
any, for additional time to file another plan or a modification of the proposed plan is denied, the Trustee would request
this Court dismiss or convert the case, whichever is in the best interest of creditors and the estate, for cause, pursuant to
11 U.S.C. § 1307(c)(5).

   The Trustee requests the Court set a hearing on this motion to dismiss or convert on the same date and time as the
hearing on confirmation of the proposed plan.

   WHEREFORE, THE PREMISES CONSIDERED, the Trustee respectfully moves this Court to dismiss or convert,
whichever is in the best interest of creditors and the estate, for cause, the above-styled case, pursuant to 11 U.S.C. §
1307(c)(5), for failure to confirm a proposed plan.



                                                                      Respectfully submitted,

                                                                      /s/ Henry E. Hildebrand, III
                                                                      HENRY E. HILDEBRAND, III
                                                                      CHAPTER 13 TRUSTEE
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